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                      UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS
________________________________________________
                                                 :
IN THE MATTER OF THE COMPLAINT OF                :
BELLA SKY, LLC, FOR EXONERATION                  :
FROM OR LIMITATION OF LIABILITY AS               : C.A NO.: 1:20-cv-11719-GAO
OWNER OF F/V BELLA SKY, A 1977 72’               :
STEEL HULL FISHING VESSEL, BEARING               :
USCG DOCUMENTATION NO. 580932                    :
________________________________________________:

        PETITION’S MOTION FOR ENTRY OF ORDER APPROVING
        LETTER OF UNDERTAKING, AND DIRECTING ISSUANCE
                   OF MONITION AND INJUNCTION

      Petitioner BELLA SKY, LLC (“BELLA SKY, LLC” or Petitioner”), as owner of

a F/V BELLA SKY, a 1977 72’ steel hull fishing vessel, bearing United States Coast

Guard Doc. No. 580932 (“the Vessel”), by and through undersigned counsel, and

pursuant to the provisions of 46 U.S.C. § 30501 et seq., Rule F of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture (“Supplemental

Admiralty Rule F”) respectfully moves this Court for entry of an Order Approving

Petitioner’s Letter of Undertaking, and Directing the Issuance of the Monition and

Injunction staying the prosecution of any claim arising from, or related to, the

incident as more fully described in Petitioner’s Complaint, in any form other than

this action, and in support thereof, states as follows:

      1.      On September 18, 2020, Petitioner filed a Petition for Exoneration

from or Limitation of Liability pursuant to 46 U.S.C. § 30501 et. seq., and

Supplemental Rule F, claiming the right to exoneration from liability, or

alternatively, limitation of liability, for all claims arising out of an incident which

occurred on the navigable waters of the United States, wherein Philip Bardales
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claims to have become injured on or about March 8, 2020 (the “Incident”), as more

fully set forth the Petitioner’s Complaint.

      2.       Petitioner’s Complaint states the facts and circumstances on which such

exoneration from, or limitation of, liability is claimed.

      3.       Petitioner’s interest in the Vessel after the Incident does not exceed the

sum of $194,000.00, subject to an appraisal. There is no pending freight.

      4.       In compliance with Supplemental Rule F, Petitioner filed a Letter of

Undertaking. It was filed as Exhibit “B” to the Complaint.

       5.      Petitioner respectfully submits that a Letter of Undertaking is an

accepted means of providing interim security for the potential claimants in a

limitation action. In re Matter of Compania Naviera Marasia S.A., Atlantico, 466 F.

Supp. 900, 902 (S.D.N.Y. 1979) (explaining that “approved security” includes letters

of undertaking from insurers, as “it has been the practice for many years in the

maritime industry to accept letters of undertaking given by underwriters, domestic

or foreign, in order to avoid the detention of vessels and the expense of posting

security in other forms.”); see also In re Gore Marine Corp., No. 2:08–cv–644–FtM–

29DNF, 2009 WL 2365882, at *2 (M.D. Fla. 2009) (reviewing the court’s entry of an

order granting the Motion for approval of Letter of Undertaking); see also In the

Matter of the Complaint of GLF Islamorada, Inc., Case No.: 15-cv-10018-MARTINEZ-

GOODMAN, DE 7 (S.D. Fla. 2015) (entering order approving letter of undertaking

and directing issuance of monition and injunction in limitation proceeding); see also

In the Matter of the Complaint of Edward K. Freeman, Case No. 13-cv-22071-Ungaro,



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DE 5 (S.D. Fla. 2013) (same); see also In re Twenty Grand Offshore, Inc., 313 F.Supp.

851, 852 (S.D. Fla. 1970) (discussing the Court’s approval of a letter of undertaking

on behalf of underwriters in a limitations action, in lieu of an Ad Interim Stipulation).

      6.      Supplemental Rule F(4) directs the Court to issue notice setting the time

period for all potential claimants to file their respective claims against the limitation

fund, and should they choose to challenge Petitioner’s right to limitation or

exoneration, to file an Answer to Petitioner’s Complaint.

      7.      Supplemental Rule F(3) states that upon application of the Petitioner,

the Court “shall enjoin further prosecution of any action or proceeding against the

[Petitioner] with respect to any claim subject to limitation in the action.”

      8.      A proposed Order Approving the Letter of Undertaking and Directing

Issuance of Monition and Injunction is attached hereto as Exhibit “A.”

      9.      A proposed Notice to Claimants of Complaint for Exoneration from or

Limitation of Liability is attached hereto as Exhibit “B.”

      10.     A proposed Monition and Injunction is attached hereto as Exhibit “C.”

WHEREFORE, PETITIONER prays that:

   1. This Court issue an Order approving the above-described Letter of

      Undertaking, deposited with the Court by Petitioner, as security for the

      amount or value of Petitioner’s interest in the Vessel until such time the Court

      causes due appraisement to be made of the amount of the value of Petitioner’s

      interest in the Vessel;




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2. This Court issue a Notice to all persons asserting claims with respect to which

   the Complaint seeks relief, admonishing them to file their respective claims

   with the Clerk of this Court and to serve on the attorneys for Petitioner a copy

   thereof on or before a date to be named in the Notice, and that if any claimant

   desires to contest either the right to exoneration from or the right to limitation

   of liability, they shall file and serve on the attorneys for Petitioner an answer

   to the Complaint on or before the said date, unless their claim has included an

   answer, so designated;

3. This Court enjoin the further prosecution of any and all actions, suits, and

   proceedings already commenced, and the commencement or prosecution

   thereafter, of any and all actions, suits or proceedings, of any nature or

   description whatsoever in any jurisdiction against Petitioner, and/or against

   the Vessel, or against any property of the Petitioner, except in this action, to

   recover damages for or in respect of any property damages, personal injuries

   or fatalities caused by or resulting from the aforesaid Incident involving the

   Vessel, or otherwise done, occasioned or incurred as a result of the Incident

   involving the Vessel; and




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   Petitioner may have such other, further or different relief as may be just under

   the circumstances.

Respectfully submitted this 18th day of September, 2020.

                                BELLA SKY, LLC, as owner of
                                F/V BELLA SKY

                                /s/ Michael Daly
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